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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   Helen Doe, et al.,                                 No. CV-23-00185-TUC-JGZ
10                  Plaintiffs,                         ORDER
11   v.
12   Thomas C Horne, et al.,
13                  Defendants.
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15          Before the Court is Mark Marvin’s Petition for a Writ of Habeas Corpus in which
16   Mr. Marvin seeks habeas corpus relief because “the children petitioners are trapped in a de
17   facto imprisonment,” and they need protection from “Frankenstein medical doctors.”
18   (Doc. 137 at 1.) A brief review of the record indicates that Mr. Marvin is neither a party
19   nor counsel for one of the parties in this matter, and his Petition is neither appropriate nor
20   well taken. The Petition is denied, and the Court instructs Mr. Marvin to refrain from filing
21   any further documents in this case.
22          IT IS ORDERED that the Petition for a Writ of Habeas Corpus (Doc. 137) is
23   DENIED.
24          Dated this 14th day of August, 2023.
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